        Case: 22-30303     Document: 224       Page: 1   Date Filed: 02/08/2023




                                                                    February 08, 2023

Via CM/ECF

Lyle W. Cayce, Clerk of Court
U.S. Court of Appeals for the Fifth Circuit
Office Of the Clerk
F. Edward Hebert Building
600 S. Maestri Place
New Orleans, LA 70130-3408

      Re: Louisiana v. CDC, No. 22-30303

Dear Mr. Cayce,

      Proposed Intervenor and Appellant Innovation Law Lab (hereinafter “Law

Lab”) files this letter in response to the Court’s January 30, 2023 order directing the

parties to file letter briefs addressing what effect, if any, Huisha Huisha v. Mayorkas,

No. 22-5325 (D.C. Cir.) (which is currently pending before the Supreme Court as

Arizona v. Mayorkas, No. 22-592), has on this case, and whether this case should be

held in abeyance pending the outcome in Huisha. 1




1
  Law Lab files its responsive letter brief two days after the deadline listed in the
Court’s January 30, 2023 order. Because that order was addressed only to counsel
for the States and counsel for Federal Defendants, with counsel for Law Lab listed
in the copy line, Law Lab mistakenly believed the Court was inviting the States
and Federal Defendants only to file a supplemental letter brief.
                                           1
        Case: 22-30303      Document: 224         Page: 2   Date Filed: 02/08/2023




      Law Lab’s appeal of the district court’s denial of its motion to intervene

should not be held in abeyance pending Huisha.2 First, Law Lab’s appeal seeks in

part to correct the district court’s error in denying its motion to intervene. That issue

warrants this Court’s timely review, despite the fact that the underlying dispute could

be rendered moot by Huisha. Law Lab and Federal Defendants bring separate and

distinct appeals before this Court. Whereas Federal Defendants, who are also

defendants in Huisha, challenge the States’ standing to bring this case and the

propriety of the preliminary injunction blocking the Title 42 Termination Order,

Federal Defendants’ Opening Brief at 4, Law Lab’s appeal squarely concerns the

district court’s denial of its motion to intervene and the nationwide scope of the

preliminary injunction, Law Lab’s Opening Brief at 2. Both the States and Federal

Defendants opposed Law Lab’s intervention motion in the district court, and they

oppose Law Lab’s appeal before this Court. Federal Defendants’ Response to Law

Lab’s Opening Brief at 2; States’ Consolidated Answering Brief at 92. Resolution

of Law Lab’s appeal is time-sensitive, particularly where it is unclear when this case

could become moot, and where ongoing district court proceedings continue to impair

Law Lab’s ability to protect its interests.




2
  Law Lab, which is not a party to Federal Defendants’ appeal, takes no position as
to whether Federal Defendants’ appeal in this case should be held in abeyance
pending the outcome in Huisha.
                                              2
         Case: 22-30303     Document: 224       Page: 3   Date Filed: 02/08/2023




        Second, while no one can predict the outcome of the Huisha decision, the

question on which the Supreme Court granted certiorari and the procedural posture

of that case already make clear that its decision will not be dispositive of Law Lab’s

appeal in this case. In Huisha, the predominant intervention factor at issue is

timeliness, whereas here it is whether Federal Defendants adequately represent Law

Lab’s interests.

        Because of Law Lab’s interest in vindicating its right to intervene in this case

as soon as possible, irrespective of whether this case may become moot depending

on how the Supreme Court rules in Huisha or some other event, and because the

Supreme Court’s resolution of Huisha will not be dispositive of the outcome of Law

Lab’s appeal in this case, Law Lab’s appeal of the district court’s denial of its

intervention motion should not be held in abeyance.

   I.      Law Lab Seeks Timely Resolution of its Intervention Appeal
           Irrespective of Possible Future Mootness in this Case.

        Law Lab seeks to vindicate before this Court its right to intervene under

Federal Rule of Civil Procedure (“FRCP”) Rule 24. As Law Lab has briefed at

length, it has legally protectable interests in this case because the district court’s

nationwide preliminary injunction frustrates Law Lab’s organizational mission to

advance migrant and refugee justice, and the nationwide preliminary injunction has

forced it to divert significant resources from its mission-driven programming to meet

the needs of individuals directly impacted by Title 42. Law Lab’s Opening Brief at
                                            3
        Case: 22-30303     Document: 224       Page: 4   Date Filed: 02/08/2023




18-19. This case has already impaired Law Lab’s ability to protect these interests.

Id. at 19-20.

      Law Lab is acutely invested in having its right to intervene in this case

adjudicated as soon as possible. While the outcome in Huisha may someday have

the effect of mooting this case, when that could possibly happen is pure speculation.

      Federal Defendants posit that “the Huisha-Huisha district court’s judgment

[could] become[] final following appellate proceedings,” which would render all

Title 42 orders vacated, and this case moot. Federal Defendants’ letter brief at 7. But

Federal Defendants do not specify which Huisha appellate proceedings could result

in the district court’s judgment becoming final. As Federal Defendants noted, the

Supreme Court granted certiorari limited to the question “[w]hether the State

applicants may intervene.” Arizona v. Mayorkas, 143 S. Ct. 478(2022). The Supreme

Court’s resolution of that question will determine whether the proposed state

intervenors may intervene in that case. If the Supreme Court rules for the proposed

state intervenors, the case could essentially begin anew before the district court.

Even if the Supreme Court denies the proposed state intervenors’ appeal, the federal

government’s appeal of the district court order vacating the Title 42 orders will still

be pending before the U.S. Court of Appeals for the D.C. Circuit. Notice of Appeal,

Huisha-Huisha v. Mayorkas, No. 22-5325 (D.C. Cir. Dec. 09, 2022). That appeal

would have to be resolved before the district court order vacating Title 42 becomes


                                           4
           Case: 22-30303    Document: 224        Page: 5   Date Filed: 02/08/2023




final. This Court could undoubtedly resolve Law Lab’s appeal long before then.

Thus, when exactly Huisha could possibly moot this case is at most an open question

that does not, without more, warrant indefinitely postponing Law Lab’s ability to

vindicate its rights to intervene in this case.

          Moreover, Law Lab is particularly invested in this Court’s timely resolution

of its intervention question as district court proceedings on substantive issues in this

case have continued, and are likely to continue, during the pendency of this appeal.

See, e.g., Plaintiff States’ Motion for Order to Show Cause, ECF No. 160. Moreover,

the States’ admission that “one or more States are likely to challenge” future events

that would have the effect of terminating Title 42, States’ Letter Brief at 5, and the

likelihood that such a future challenge would occur within the jurisdiction of this

Circuit Court,3 counsel in favor of resolving the intervention questions here, which

are likely to reappear in the near future.

    II.      The Supreme Court’s Resolution of Arizona v. Mayorkas is Unlikely to
             Determine the Outcome of Law Lab’s Appeal.



3
  As the federal government recently noted in a separate case, the States have a
practice of filing most of their lawsuits against the federal government in single-
judge divisions or divisions within this Circuit Court where they are almost always
guaranteed a particular judge assignment. Motion to Transfer at 18, Texas v. DHS,
No. 23-cv-0007 (S.D. Tex. Jan. 26, 2023), (citing Appendix A, Brief of Professor
Stephen I. Vladeck As Amicus Curiae, United States v. Texas, No. 22-58 (Sept. 19,
2022) (noting 20 such lawsuits in Texas courts in 2021 and 2022 up to September
19, 2022), available at https://www.supremecourt.gov/DocketPDF/22/22-
58/238509/20220922104355438_22-58%20tsac%20Vladeck%20revised.pdf.)
                                             5
        Case: 22-30303      Document: 224       Page: 6   Date Filed: 02/08/2023




      While on its face, the intervention question posed in Arizona is related to the

subject of Law Lab’s appeal of the district court’s denial of its intervention motion,

resolution of Arizona is unlikely to control the outcome of Law Lab’s appeal in this

case. The D.C. Circuit denied the States’ intervention request based on “the

inordinate and unexplained untimeliness of the States’ motion.” Order at 2, No. 22-

5325 (D.C. Cir. Dec. 16, 2022). The majority of the parties’ briefing is related to

timeliness. Petitioners’ Brief; Respondents’ Brief; Federal Respondents’ Brief,

Arizona v. Mayorkas, No. 22-592. Thus, the Supreme Court decision in that case is

likely to hinge on the timeliness factor of FRCP Rule 24 intervention. In this case,

Law Lab’s motion for intervention was unquestionably timely—an issue no party

nor the district court contested.

      Thus, because of the time-sensitive nature of this Court’s resolution of Law

Lab’s intervention motion irrespective of any possible future mootness wrought by

Huisha or some other event, and because resolution of Huisha will not be dispositive

of the outcome of Law Lab’s appeal, this case should not be held in abeyance.

                                    Respectfully submitted,

                                    /s/ Monika Y. Langarica
                                    Monika Y. Langarica
                                    Ahilan Arulanantham
                                    Talia Inlender
                                    UCLA Center for Immigration Law and Policy
                                    385 Charles E. Young Dr. E., Box 951476
                                    Los Angeles, CA 90095
                                    (310) 983-3345
                                            6
Case: 22-30303   Document: 224       Page: 7   Date Filed: 02/08/2023




                      Matthew S. Vogel
                      Sirine Shebaya
                      Joseph Meyers
                      Victoria Neilson
                      National Immigration Project
                      of the National Lawyers Guild
                      2201 Wisconsin Ave NW, Ste. 200
                      Washington, DC 20007
                      (504) 264-3613

                      Eric B. Wolff
                      Laura Hill
                      Breanna Phillips
                      Perkins Coie LLP
                      1201 3rd Ave. Ste. 4900
                      Seattle, WA 98101
                      (206) 359-8000




                                 7
